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11
                           IN THE UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13

14                                                  )   Case No. 19-cv-01374-PSJ-SHK
15
                                                    )
      MARGGIEH DICARLO, Individually                )   PLAINTIFF’S AMENDED
16
      and On Behalf of All Others Similarly         )   MEMORANDUM IN OPPOSITION
17    Situated,                                     )   TO DEFENDANTS’ MOTION TO
                                                    )   COMPEL ARBITRATION
18
                      Plaintiff,                    )
19
             vs.                                    )   Amended Complaint Filed:
20
                                                    )   October 15, 2019
      MONEYLION, INC., MONEYLION                    )
21
      OF CALIFORNIA LLC, ML PLUS                    )   Judge:       Hon. Philip S. Gutierrez
22    LLC, and ML WEALTH, LLC,                      )   Date:        December 23, 2019
                                                    )   Time:        1:30 p.m.
23
                    Defendants.                     )   Courtroom:   6A, First Street Courthouse
24                                                  )
                                                    )
25
                                                    )   Dated: December 2, 2019
26                                                  )
27
                                                    )
                                                    )
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1          The Court should deny MoneyLion’s 1 Motion to Compel Arbitration (Doc. 18)
2    because the arbitration agreement at issue is void in its entirety. The agreement contains
3    a “poison pill” clause which makes its entire enforceability depend on the enforceability
4    of three specified provisions. Two of these provisions are invalid under McGill v.
5    Citibank, N.A. 2 Cal. 5th 945 (2017) because they prohibit Plaintiff Marggieh DiCarlo
6    (“Plaintiff”) from seeking public injunctive relief in any forum. The combined effect of
7    McGill and the poison pill clause renders the “entire Arbitration Provision,” by its own
8    terms, “null and void.”
9                                      INTRODUCTION
10         The case is a classic candidate for public injunctive relief because it seeks to
11   restrain a large-scale, ongoing deception MoneyLion is perpetrating against the general
12   public. MoneyLion promotes itself as a champion of the “financially underserved,”
13   “empowering” them to “control of their financial lives,” and bringing them “financial
14   literacy, wellbeing, and independence”—all conveniently delivered through the
15   MoneyLion smartphone app. See Doc. 18 at 1. These representations and others that
16   MoneyLion advertises to the general public are wildly inconsistent with the actual
17   consumer experience. See First Amended Complaint, Doc. 17 (“FAC”), ¶ 6 (quoting
18   consumer accounts: “‘Total nightmare’; ‘This is theft’; ‘This is UNETHICAL and
19   DECEPTIVE’; . . . ‘This is fraud’; ‘Its a trap dont do it’; ‘Shame Shame Shame’; . . .
20   ‘This is a scam!’”). Plaintiff’s experience was similarly disastrous.
21    I.   Plaintiff’s Allegations in the FAC
22         In July of 2018, Plaintiff borrowed $500 through what MoneyLion calls its
23   “5.99% APR Credit Builder Loan” (the “Loan”). FAC, ¶¶ 23-24. Plaintiff hoped to
24   improve her credit in anticipation of opening her own hair salon. Id. As part of the Loan
25   transaction, MoneyLion required Plaintiff to enroll in its fee-based MoneyLion Plus
26   program. Id., ¶ 30. Sixteen months later, even after paying around $300 towards her
27

28         Defendants, MoneyLion, Inc., MoneyLion of California, LLC, ML Plus LLC,
           1

     and ML Wealth, LLC are referred to collectively as “MoneyLion.”

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1    Loan, Plaintiff supposedly owes MoneyLion $948 on a $500 Loan that supposedly
2    carries an APR of just 5.99%. Id., ¶ 91. How could this happen?
3          The answer lies in MoneyLion’s exotic and, as Plaintiff will show, deceptive and
4    illegal fee-based revenue model. MoneyLion offers two versions of its services: a free
5    version called “MoneyLion Core,” and a paid “members only” version of its services
6    called “MoneyLion Plus.” Id., ¶¶ 60-67. Enrollment in MoneyLion Plus requires
7    subscribers to pay a monthly membership fee of $29.00 (the “Membership Fee”) and
8    agree to automated minimum deposits of $50.00 per month into a MoneyLion managed
9    Investment Account. Id., ¶ 61.
10         As Plaintiff later learned, MoneyLion’s treatment of the Membership Fee is
11   foreign to any reasonable consumer’s understanding of the concept. Id., ¶¶ 70-77. At
12   best, the Membership Fees are disguised interest charges, id., ¶ 78; at worst, they’re
13   outright theft, id., ¶¶ 75-76. And they’re often impossible to stop. Id., ¶¶ 88-89.
14         MoneyLion will not allow consumers to cancel their MoneyLion Plus
15   membership if they have an outstanding Loan balance, something Plaintiff and others
16   learned only after attempting to cancel their Plus memberships. Id., ¶¶ 51, 83. If a
17   subscriber misses a monthly Loan or Membership payment, MoneyLion will “pause”
18   the member’s MoneyLion Plus membership, which means that he or she is blocked from
19   accessing any of the features or supposed benefits available through MoneyLion Plus.
20   Id., ¶ 71. That part is fair enough. But it gets worse. MoneyLion will still charge
21   Membership Fees for months in which MoneyLion suspended the member’s access to
22   MoneyLion Plus benefits. Id., ¶¶ 73-74. And it will not restore a member’s status to
23   “good standing” and resume her access to Plus member benefits until the cumulative
24   sum of all delinquent Membership Fees are paid in full, even though MoneyLion will
25   not—and indeed, cannot—provide “past due” membership benefits in return. Id., ¶ 76.
26         Regaining one’s status as a “member in good standing” is critical, Plaintiff later
27   learned, because it’s a second component of MoneyLion’s undisclosed cancellation
28   criteria. MoneyLion will not allow consumers to cancel their MoneyLion Plus


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1    membership—not just if they have an outstanding Loan balance—but also if they owe
2    any past-due Membership Fees. Id., ¶¶ 85-86. The trap-like effect of MoneyLion’s
3    scheme is evident: a consumer who cannot stay current on her Loan or Membership Fees
4    likely cannot muster the lump sum payment required to satisfy her entire Loan balance
5    and all past-due Membership Fees. Id., ¶ 76. She therefore cannot cancel her Plus
6    membership. So MoneyLion’s continued extraction of Membership Fees from
7    consumers’ bank accounts continues month after month, with no end in sight. Id., ¶ 113.
8           And that is how Plaintiff owes more than $1,000 on a $500, 5.99% APR Loan she
9    took out just 15 months ago.
10    II.   Plaintiff’s FAC Brings Claims for Private Relief and, Separately, for Public
11
            Injunctive Relief
            Plaintiff’s seven claims for relief generally fall into two categories. In four of her
12
     claims, Plaintiff seeks damages, private injunctive relief, and/or restitution on behalf of
13
     herself and a class of MoneyLion Plus subscribers for violations of California’s Unfair
14
     Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq. (Count I);
15
     California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et seq.
16
     (Count III); California’s Anti-Usury Laws, Cal. Const. art. XV, § 1 and Cal. Civ. Code
17
     § 1916-2 (Count V); and the Truth in Lending Act, 15 U.S.C. §§ 1601, et seq. (Count
18
     VI). But Plaintiff’s requested relief is not confined to herself and the class of already-
19
     harmed MoneyLion customers. Her remaining three claims—Count II, Count IV, and
20
     Count VII—solely seek public injunctive relief under the UCL, CLRA, and California’s
21
     False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.
22

23
     III.   MoneyLion’s Arbitration Agreement and Its Limitations on Non-Individual
            Relief
24
            As a condition to enrolling in MoneyLion Plus and again upon obtaining the Loan,
25
     MoneyLion required Plaintiff to sign its “Agreements for Resolving Disputes.” See Ex.
26
     D to FAC (Doc. 17-4) (the “Arbitration Agreement” or “Agreement”). Three features
27
     of the Agreement are the most relevant here: Section 5’s restrictions on non-individual
28
     relief; Section 10’s “Poison Pill” clause; and Sections 9’s non-delegation clause.

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1          First, the Agreement endeavors at every turn to limit the scope of available relief
2    to that which is necessary to resolve disputes on an individual basis. These restrictions
3    primarily appear in Section 5, titled “No Class Actions or Similar Proceedings; Special
4    Features of Arbitration,” but this intent is reflected throughout the Agreement.2
5          Section 5(C) serves this intent by prohibiting mass joinder of claims through the
6    class action device. But the Agreement doesn’t stop there. It further prohibits, at Section
7    5(E), any joinder or consolidation of Plaintiff’s claims with the claims of “any other
8    person.”   Even a simple, two-claimant arbitration proceeding is disallowed under
9    Section 5(E). And Section 5(E)’s anti-joinder provision is exceptionally broad: a claim
10   is prohibited—not just if it belongs to any other person—but if it so much as “involv[es]
11   any other person.” Id. § 5(E) (emphasis added).
12         What about claims seeking broad relief to vindicate public rights? Such claims
13   may not require formal joinder of parties though simple or class action mechanisms.
14   Yet, to effectuate their public purposes, statutes creating these rights often entitle
15   plaintiffs to relief broader in scope than what’s strictly necessary for private redress. A
16   business endeavoring to craft a consumer arbitration agreement that strictly limits
17   claimants to individual relief might worry, then, that its class action and joinder
18   prohibitions don’t cover this class of claims. So to be safe, that business might include
19   a third category specifically to prohibit such claims.
20         Which is exactly what MoneyLion did here. Section 5(D) specifically labels—
21   and prohibits—this class of claims by mandating that “neither you nor we will have the
22   right to: . . . act as a private attorney general in court or in arbitration.” Id., ¶ 5(D)
23

24         2
              For example, the claims exempted from arbitration are those where the scope of
25   available relief is limited: an “individual action brought . . . in small claims court” (so
26
     long as the claims remain in small claims court) or an “individual action . . . to prevent
     the other party from using any self-help remedy.” Id. at 1, ¶ 4. Also, MoneyLion may
27   opt to litigate a “lawsuit on an individual basis” in court, but it can change its mind and
28   elect arbitration if the plaintiff later “assert[s] the Claim on a class, representative or
     multi-party basis.” Id., § 2.

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1    (emphasis added). As explained below, a party acts as a private attorney general when
2    she seeks relief vindicating a mix of private and public interests in an adjudicative
3    proceeding.    See infra at 11-13. Section 5(D) thus completes the Agreement’s
4    comprehensive exclusion of non-individual relief: in addition to prohibiting relief for
5    (or “involving”) class members, co-parties, and nonparties, the Agreement also prohibits
6    relief oriented to serve the interests of the public.
7          Second, MoneyLion must view Section 5’s prohibitions on consumers bringing a
8    “class action,” acting as a “private attorney general,” and joining claims “involving any
9    other person” as indispensable components of its arbitration scheme. Rather than
10   designate these provisions severable if any are deemed unenforceable, Section 10—the
11   “Poison Pill” clause—instead provides that the enforceability of the entire Agreement
12   depends on the enforceability of Sections 5(C)-(E): “if Section 5(C), (D) and/or (E) is
13   declared invalid in a proceeding between you and us . . . this entire Arbitration Provision
14   (other than this sentence) shall be null and void in such proceeding . . . .” Id., § 10 (the
15   “Poison Pill” clause) (emphasis added).
16         Third, the Arbitration Clause leaves no doubt that questions regarding the validity
17   or effect of Section 5’s private attorney general and joinder restrictions and Section 10’s
18   Poison Pill clause “are for a court and not an arbitrator to decide.” Id. at 1, ¶ 4.
19   IV.   The Nature of Public Injunctive Relief and the McGill Rule
20         MoneyLion correctly anticipates that the enforceability of its Arbitration
21   Agreement depends on whether it runs afoul of the McGill rule. The UCL, CLRA, and
22   FAL each make available the remedy of a “public injunction.” McGill, 2 Cal. 5th at 954-
23   55. The California Supreme Court has defined “public injunctive relief” as “injunctive
24   relief that has the primary purpose and effect of prohibiting unlawful acts that threaten
25   future injury to the general public.” Id. at 951. Whether injunctive relief is “public” or
26   “private” depends on the primary beneficiary of the relief. Private injunctive relief
27   “‘resolves a private dispute’” between the parties and “‘rectifies individual wrongs,’”
28   even if it benefits the general public incidentally. Id. at 955 (quoting Broughton v. Cigna


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1    Healthplans of Cal., 21 Cal. 4th 1066, 1080 (1999) (internal alterations omitted). A
2    public injunction, by contrast, accomplishes the reverse: it “‘by and large’ benefits the
3    general public” and “benefits the plaintiff, ‘if at all,’ only ‘incidentally’ and/or as ‘a
4    member of the general public.’” Id. (quoting Broughton, 21 Cal. 4th at 1079-80).
5           The quintessential public injunction is one that restrains “a deceptive business
6    practice.” Id. Such relief “‘generally benefits’ the public ‘directly by the elimination of
7    deceptive practices’ and ‘will . . . not benefit’ the plaintiff ‘directly,’ because the plaintiff
8    has “already been injured, allegedly, by such practices and [is therefore] aware of
9    them.’” Id. (quoting Broughton, 21 Cal. 4th at 1080 at n.5).
10          In McGill, the California Supreme Court held that an agreement which waives the
11   right to seek public injunctive relief in any forum violates California Civil Code § 3513.
12   Id. at 962. Section 3513 provides that “[a] law established for a public reason cannot be
13   contravened by a private agreement.” McGill determined that public injunctive relief
14   available under the UCL, CLRA, and FAL “[b]y definition,” exists “primarily for the
15   benefit of the general public.” Id. at 961 (internal quotations omitted). The court’s
16   analysis yielded what has become known as the “McGill rule”: an “arbitration provision
17   [that] purports to waive” a plaintiff’s right to “request in any forum such public
18   injunctive relief . . . is invalid and enforceable under California law.” Id.
19                                           ARGUMENT
20          Here, the Court should conclude that McGill applies, triggers the Poison Pill
21   clause, and invalidates the Arbitration Agreement in its entirety. Two Poison Pill-linked
22   clauses independently prohibit Plaintiff from seeking public injunctive relief in any
23   forum: Section 5(D), which prohibits “act[ing] as a private attorney general in court or
24   in arbitration,” and Section 5(E), which prohibits “join[ing] or consolidate[ing] claim(s)
25   involving you with claims involving any other person.” See Agreement, § 5(D), (E).
26          MoneyLion’s arguments to the contrary are not persuasive. First, its argument
27   that Section 5(D) does not prohibit public injunctive relief is contrary to any plausible
28   characterization of what it means to “act as a private attorney general,” including the


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1    California Supreme Court’s. It also ignores Section 5(E)’s anti-joinder provision as an
2    independent prohibition on public injunctive relief. Second, MoneyLion’s argument
3    that public injunctions are permitted under the Agreement’s generic “all remedies”
4    clause mischaracterizes McGill and, in any event, rests on a construction of the
5    Agreement that would render Section 5’s key prohibitions meaningless. And, third,
6    MoneyLion’s argument that Plaintiff does not really seek public injunctive relies on a
7    contrived “primary purpose” standard which contravenes California law and federal
8    pleading rules.
9     I.    The Southern District of California Already Found the Same Arbitration
10
            Agreement Unenforceable Under McGill
            MoneyLion’s same arguments have already been raised in connection with the
11
     same arbitration agreement. They were rejected. Just this past summer, Judge Curiel in
12
     the Southern District of California evaluated a virtually-identical arbitration clause—
13
     one seemingly drafted from the same template as MoneyLion’s—for compliance with
14
     McGill. See Delisle v. Speedy Cash, No. 3:18-CV-2042-GPC-RBB, 2019 WL 2423090
15
     (S.D. Cal. June 10, 2019); Speedy Cash Arb. Clause (attached as Exhibit A to the
16
     concurrently-filed Declaration of Kolin C. Tang (“Tang Decl.”)). Judge Curiel’s analysis
17
     correctly resolves each issue MoneyLion has raised. The Court should apply it here.
18

19
        A. Speedy Cash Could Not Credibly Dispute That Section 5 Prohibits Public
           Injunctive Relief
20
            The arbitration agreement in Speedy Cash is virtually identical to MoneyLion’s.
21
     See Exhibit B, Tang Decl. (comparing the two in redline). Most importantly, the two
22
     arbitration agreements contain identical Sections 5(D) and 5(E), an identical “poison
23
     pill” clause, and the same “all remedies” provision MoneyLion contends rescues its
24
     Arbitration Agreement from McGill here. See 2019 WL 2423090, at *7 n.1; Ex. B, §§
25
     5, 9, 10.
26
            It was obvious, at least to the parties in Speedy Cash, that Section 5 prohibited
27
     public injunctive relief in any forum. Id. Their only disagreement was about the precise
28
     source of the prohibition. Id. For Speedy Cash, it was clear that Section 5(E)’s

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1    prohibition on “join[ing] or consolidat[ing] claim(s) involving you with claims
2    involving any other person” disallowed public injunctive relief because “a claim for
3    broad public injunctive relief would require adjudication of countless agreements
4    Speedy Cash has executed with third parties.” See Reply ISO Motion to Compel
5    Arbitration, Doc. 21, Case No. 3:18-CV-2042-GPC-RBB (S.D. Cal.), at 10 n.12. The
6    plaintiffs “locate[d] the waiver of public injunctive relief in Section 5(D),” which
7    “disallows Plaintiffs from ‘act[ing] as a private attorney general in court or in
8    arbitration.” 2019 WL 2423090, at *7. Judge Curiel, for his part, agreed with the parties’
9    interpretation.
10      B. Speedy Cash’s Identical “All Remedies” Clause Confirmed, Not Avoided,
11
           McGill’s Application
           Significantly, Judge Curiel viewed the language of the “all remedies” clause—the
12
     very one MoneyLion here claims to authorize public injunctive relief—as confirming,
13
     not weakening, the conclusion that the arbitration clause prohibits public injunctive
14
     relief in any forum. See id. at *7 n.1 (“Indeed, section 9 confirms that any arbitrator . .
15
     . ‘shall be authorized to award all remedies available in an individual lawsuit.’”).
16

17
        C. Speedy Cash’s Claim That the Plaintiffs Actually Sought Private Relief Was
           “Unwinning”; MoneyLion’s is Even Less Persuasive
18
           Finally, like MoneyLion, Speedy Cash argued that the “[p]laintiffs seek to obtain
19
     ‘public injunctive relief’ in name only,” not in substance. Id. at *7. Judge Curiel found
20
     this argument “unwinning, because the relief Plaintiffs seek falls squarely within the
21
     ambit of public injunctive relief.” Id. “[I]t is hard to see how Plaintiffs’ requested
22
     injunction would benefit them directly,” Judge Curiel reasoned, “since they have already
23
     been injured, allegedly, by [the Defendant’s] practices and is aware of them.” Id.
24
     (internal quotation omitted). And “[t]he fact that Plaintiffs would receive incidental
25
     benefit from the requested injunction is of no moment,” because “[t]o have standing to
26
     raise a claim of public injunctive relief under the UCL in the first place, Plaintiffs [must
27
     have] ‘lost money or property as a result of the unfair competition.’” Id. (quoting Cal.
28




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1    Bus. & Prof. C. § 17204). “Thus, it is natural, if not almost inevitable, that . . . public
2    injunctive relief . . . would have the ancillary effect of benefiting a UCL plaintiff.” Id.
3          In rejecting Speedy Cash’s argument, the court emphasized the following aspects
4    of the plaintiffs’ public injunction claims: the plaintiffs sought “injunctive relief
5    pursuant to the UCL and the CLRA,” “allege[d] that Speedy Cash” engages in practices
6    “harmful to the California consumer public,” and requested an injunction restraining the
7    unlawful conduct and mandating “corrective advertising.” Id. These characteristics
8    exist equally, if not to a greater extent, in Plaintiff’s FAC. See FAC, ¶¶ 134-36, 145-47,
9    169-70, 190-95. The Court should follow Judge Curiel’s analysis in Speedy Cash here.
10   II.   The Court Can Conclude that the Arbitration Agreement Is Invalid Under
11
           McGill Without Reference to Speedy Cash
           If the Court is disinclined to decide this Motion solely based on Speedy Cash, it
12
     can reach the same result under an independent analysis. Section 5(D)’s prohibition on
13
     Plaintiff “act[ing] as a private attorney general in court or in arbitration” and Section
14
     5(E)’s prohibition on Plaintiff “join[ing] or consolidat[ing] claim(s) involving you with
15
     claims involving any other person” each preclude Plaintiff from seeking public
16
     injunctive relief in any forum, violate McGill, and trigger the Poison Pill clause.
17

18
        A. Section 5(E) Prohibits Public Injunctive Relief Because Such Relief
           Necessarily Requires “Joining or Consolidating” Individual Claims with
19         Claims “Involving” Others
20         Plaintiff addresses Section 5(E)’s broad anti-joinder provision first. Notably,
21   Section 5(E) does not merely prohibit the inclusion of claims “belonging” to another
22   person or raised “on behalf” of another person—it broadly applies to “claims involving
23   any other person.” To involve something means to “include (something) as a necessary
24   part or result.” See “Involve,” Google Dictionary, Nov. 13, 2019, available at
25   www.google.com (ent. “define involving”). Thus, Section 5(E) prohibits more than the
26   joinder of other parties’ claims. It equally prohibits the assertion of an individual claim
27   for which the “inclusion of any other person” is a necessary part.
28




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1          A claim for public injunctive relief necessarily involves “other person[s].” The
2    very definition of public injunctive relief requires that “other person[s]”—namely, other
3    persons comprising the general public—be the primary beneficiaries of the relief.
4    McGill, 2 Cal. 5th at 954-55. For this reason, courts have consistently found similar
5    anti-joinder provisions in arbitration agreements to prohibit public injunctive relief and
6    therefore violate McGill. See, e.g., Blair v. Rent-A-Ctr., Inc., No. C 17-02335 WHA,
7    2017 WL 4805577, at *5 (N.D. Cal. Oct. 25, 2017) (noting that “the arbitrator was
8    prohibited from ‘award[ing] relief that would affect RAC account holders other than [the
9    customer]’”), aff’d, 928 F.3d 819 (9th Cir. 2019); Roberts v. AT&T Mobility LLC, Case
10   No. 15-cv-03418-EMC, 2018 WL 1317346, at *4 (N.D. Cal. Mar. 14, 2018) (the
11   arbitrator was prohibited from awarding relief for or against anyone who was “not a
12   party” to arbitration); McArdle v. AT&T Mobility LLC, Case No. 09-cv-01117-CW, 2017
13   WL 4354998, at *1 (N.D. Cal. Oct. 2, 2017) (“The arbitrator [could] award declaratory
14   or injunctive relief only in favor of the individual party seeking relief.”).
15         A claim for public injunctive relief is a claim that necessarily “involve[es]” other
16   people. Because Section 5(E) prohibits such claims, it is invalid under McGill.
17      B. Section 5(D)’s Prohibition on “Acting as a Private Attorney General”
18
           Separately Bars Claims for Public Injunctive Relief
           Section 5(D) also runs afoul of McGill because a party “acts as a private attorney
19
     general” when it seeks public injunctive relief under the UCL, CLRA, or FAL.
20
           MoneyLion anticipates this argument in its Motion, but its arguments are
21
     unpersuasive. Notably, MoneyLion makes no attempt to define what it means to “act as
22
     a private attorney general”—even though it was MoneyLion that chose to prohibit such
23
     action in its Arbitration Agreement. Instead, MoneyLion asks the Court to summarily
24
     conclude that “act[ing] as a private attorney general”—whatever the phrase might
25
     mean—does not include pursuing a claim for public injunctive relief. But Section 5(D)’s
26
     prohibition must mean something. As explained below, public injunctive relief is
27
     disallowed under any reasonable interpretation of the clause.
28




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1
        1. The California Supreme Court Has Consistently Characterized Public Injunctive
           Relief as a “Private Attorney General” Action
2
           The California Supreme Court has already answered the question of whether a
3
     party “acts as a private attorney general” when it seeks a public injunction—and it
4
     answered in the affirmative. In Broughton, the court noted that, when seeking a public
5
     injunction, “[t]he CLRA plaintiff . . . is functioning as a private attorney general,
6
     enjoining future deceptive practices on behalf of the general public.” 21 Cal. 4th at 1079-
7
     80 (emphasis added). Four years later, in Cruz v. PacifiCare Health Systems, Inc., the
8
     court stated that “in a public injunction action a plaintiff acts in the purest sense as a
9
     private attorney general.” 30 Cal. 4th 303, 312 (2003). The court’s characterization is
10
     emphatic: a plaintiff seeking public injunctive relief acts as private attorney general—
11
     not in some metaphorical or abstract sense—but “in the purest sense” as “a bona fide
12
     private attorney general.” Id.; Broughton, 21 Cal. 4th at 1080 (emphasis added).
13
           Broughton and Cruz’s characterization of public injunctive relief remains good
14
     law. McGill, decided in 2017, spends a paragraph summarizing Broughton and Cruz
15
     and generally adopts the same characterization of the remedy as those prior decisions
16
     (though not quoting the words “private attorney general” explicitly). See 2 Cal. 5th 955.
17
     As recently as August of this year, a California appeals court confirmed the private
18
     attorney general character of public injunctive relief. See Mejia v. Merchants Bldg.
19
     Maint., LLC, 38 Cal. App. 5th 723, 739 (Ct. App. 2019) (referencing “a ‘public
20
     injunction’ sought by the individual plaintiff ‘acting in the purest sense as a private
21
     attorney general’”), disapproved on other grounds, ZB, N.A. v. Superior Court of San
22
     Diego Cty., 8 Cal. 5th 175, 448 P.3d 239 (2019).
23
        2. Characterizing a Public Injunction Claim as a Private Attorney General Action
24         Comports with the Term’s Usage in American Law
25         One legal commentator has authored a helpful analysis on this very question. In
26   his 2004 article, On What A “Private Attorney General” Is—and Why It Matters, then-
27   UCLA law professor William Rubenstein traces the evolution of the private attorney
28   general concept from its first appearance in American law to its various modern usages.


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1    57 Vand. L. Rev. 2129 (2004) (Exhibit C, Tang Decl.). Although the concept “proves
2    surprisingly mercurial” and “elusive,” one pattern does emerge: the term “private
3    attorney general is a placeholder for any person who mixes public and private features
4    in the adjudicative arena.” Id. at 2129-30. Professor Rubenstein concludes that the
5    private attorney general can be distilled to three forms:
6       (1) the “substitute attorney general” or qui tam relator, in which the claim at
7
            issue belongs to the government but a private party acting as realtor litigates
            the claim on its behalf, usually when the attorney general declines to
8           prosecute it herself, id. at 2114 (e.g., the False Claims Act, 31 U.S.C. §§
9           3729-3733);
10      (2) the “supplemental attorney general,” where a plaintiff “pursues her own
            injury in fact,” though her individual interest is “modest compared to the
11
            breadth of the statutory provisions she derivatively enforces,” id. at 2146-
12          47 (e.g., federal environmental laws conferring citizen enforcement
            standing or, in Plaintiff’s opinion, public injunctive relief under the UCL,
13
            CLRA, or FAL); and
14
        (3) the “simulated attorney general,” where a single plaintiff “secures a fund
15          that will benefit an entire group of individuals, even if the case was not
16
            prosecuted on behalf of the whole group or as a representative action,” id.
            at 2154-55 (e.g., in a shareholder derivative case, where costs of the action
17          are spread “among all of the benefiting shareholders taxing fees against the
18          defendant corporation,” id. (citing Mills v. Elec. Auto-Lite Co., 396 U.S.
            375, 394 (1970)).
19

20
           The interest at stake in any proceeding is seldom purely private or purely public;
21
     generally, it will comprise some mix of the two interests. Professor Rubenstein’s article
22
     visually maps this spectrum, which Plaintiff has reproduced and annotated on the
23
     following page:
24

25

26

27

28




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11   See id. at 2156 (red and green annotations added). A claim’s location on this matrix
12   depends in varying degrees on the nature of the client (individual or governmental), the
13   attorney’s compensation (hourly, lodestar, or contingent), and whether the relief
14   primarily seeks compensation or deterrence. See id. at 2156-58.
15         Although Rubenstein’s analysis does not consider California’s unique public
16   injunction specifically, the remedy likely would fall within the area shaded in red. First,
17   a public injunction under the UCL, CLRA, or FAL is a “supplemental” attorney general
18   action. A plaintiff must have sustained her “own injury in fact” to have standing to seek
19   a public injunction, though her own interests are modest compared to the public’s
20   interest in the “statutory provisions she derivatively enforces.” Compare id. at 2146-47
21   with McGill, 2 Cal. 5th at 958. Second, standing for injured citizens to seek public
22   injunctions “supplements” enforcement authority otherwise vested in the “Attorney
23   General,” “a district attorney,” “city attorney” and other public enforcement officials (at
24   least the case of the UCL and FAL). See Cal. Bus. & Prof. Code. § 17204. And, third,
25   within the “supplemental” category, public injunctions fall toward the category’s more
26   public end because they can only achieve deterrence, not compensation. See Broughton,
27   21 Cal. 4th at 1077 (concluding, for this reason, that the private attorney character of a
28   public injunction action is stronger than an antitrust lawsuit). In any event, public


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1    injunctions plainly fall somewhere within the broader universe of claims recognized as
2    “private attorney general” actions in American law (i.e., the region shaded in green).
3          It was MoneyLion that chose to include a vague, “mercurial,” and “elusive”
4    prohibition in its Arbitration Agreement—one that implicates a broad range of rights
5    and remedies for tens of thousands of California consumers. The Court should not
6    permit MoneyLion to arbitrarily limit the concept to suit its immediate litigation
7    objectives. Wherever the precise boundaries of the private attorney general concept lie,
8    the Court should conclude that public injunctive relief falls squarely within them and,
9    thus, is prohibited under Section 5(D).
10      3. The Private Attorney General Fee Doctrine Further Supports Characterizing a
11
           Public Injunction as a Private Attorney General Action
           The availability of attorneys’ fees under the private attorney general doctrine for
12
     a litigant who obtains a public injunction further confirms the private attorney general
13
     character of the remedy. The “private-attorney general doctrine” refers to “[t]he
14
     equitable principle that allows the recovery of attorney’s fees to a party who brings a
15
     lawsuit that benefits a significant number of people, requires private enforcement, and
16
     is important to society as a whole.” Private-Attorney General Doctrine,” Black’s Law
17
     Dictionary (11th ed. 2019); see also 7 Am. Jur. 2d Attorneys at Law § 227.
18
           California has codified the private attorney general doctrine at Cal. Civ. Proc.
19
     Code § 1021.5. Tellingly, “if a plaintiff prevails in a UCL claim, it may seek attorney’s
20
     fees under . . . section 1021.5.” Tribendis v. Life Care Centers of Am., Inc., 2014 WL
21
     12639322, at *10 (C.D. Cal. Sept. 19, 2014). And the criteria for fees under California’s
22
     private attorney general doctrine mirrors the criteria that render an injunction a “public”
23
     one under McGill. Compare 2 Cal. 5th at 961 with Cal. Civ. Proc. Code § 1021.5.
24

25
        4. MoneyLion’s Claim that a Public Injunction is Not a Private Attorney General
           Action Mischaracterizes McGill and Proposition 64
26
           MoneyLion asserts that Section 5(D)’s prohibition on private attorney general
27
     actions does not prohibit Plaintiff from seeking public injunctive relief. This is true,
28
     according to MoneyLion, because McGill holds that “there is no requirement that [public

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1    injunction claims] be brought as a class action or by an individual acting as a private
2    attorney general.” Doc. 18 at 10. MoneyLion repeats some version of this claim several
3    times in its Motion. See id. at 10-13. While the claim is true for class actions, McGill
4    says absolutely nothing about public injunction plaintiffs not acting as private attorneys
5    general. MoneyLion misquotes the opinion to make it seem to.
6               i.   Proposition 64 Did Not Alter the Private Attorney General Character
7
                     of Public Injunctions
            MoneyLion constructs this argument from McGill’s discussion of Proposition
8
     64’s amendments to the UCL in 2004. See Doc. 18, pp. 10-11. MoneyLion correctly
9
     notes that before Proposition 64, the UCL authorized “any person acting for the interest
10
     of . . . the general public” to bring an action for public injunctive relief—even persons
11
     unaffected by the conduct at issue. Id. at 10. MoneyLion also accurately describes
12
     Proposition 64’s amendment to the UCL’s once limitless standing rule, which confined
13
     the universe of plaintiffs eligible to seek an injunction to those who “have ‘suffered
14
     injury in fact and [have] lost money or property as a result of’ a violation.” McGill, 2
15
     Cal. 5th at 958 (quoting Cal. Bus. & Prof. Code, §§ 17204, 17535). But the conclusion
16
     MoneyLion draws from this statutory history—the idea that, after Proposition 64, a
17
     plaintiff no longer sues as a “private attorney general” when she seeks public injunctive
18
     relief under the UCL—is simply incorrect.
19
            Appearing to quote McGill, MoneyLion asserts that, before Proposition 64, UCL
20
     “actions, by uninjured individuals, were referred to as actions by ‘private attorneys
21
     general[,]’” and that “Proposition 64 . . . ended the practice of actions by ‘private
22
     attorneys general.’” Doc. 18 at 11 (appearing to quote McGill, 2 Cal. 5th at 958-59
23
     (emphasis added)). This history, if true, would suggest that Proposition 64 abolished
24
     the private attorney general character of public injunctions under the UCL. But it did
25
     not.
26
            To be clear: the phrase “private attorneys general” appears nowhere in McGill’s
27
     discussions of Proposition 64. See McGill, 2 Cal. 5th at 958-60. As McGill explained,
28




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1    “Proposition 64 identified the ‘filing of lawsuits’ by private attorneys”—not private
2    attorneys general—“as a misuse of the unfair competition laws.” Id. at 952 (emphasis
3    added). 3 MoneyLion’s argument glibly conflates “private attorneys” and “private
4    attorney[s] general.” The two constituencies share similar-sounding names, but no other
5    similarities relevant here.
6           The text of Proposition 64 itself confirms as much. The measure’s principal stated
7    purpose was to address the conduct of “some private attorneys” who, by virtue of the
8    UCL’s then-unlimited standing provision, could “[f]ile lawsuits where no client has been
9    injured” and “for clients who have not used the defendant’s product or service, viewed
10   the defendant’s advertising, or had any other business dealing with the defendant.”
11   Proposition 64, 2004 Cal. Legis. Serv. Prop. 64, § 1(a) (Exhibit D, Tang Decl.). The
12   phrase “private attorney(s) general” also does not appear anywhere in Proposition 64’s
13   Declaration of Purpose or operative text. See id.
14         In short, nothing in Proposition 64 itself or McGill’s discussion of it suggests that
15   the measure abolished the private attorney general character of public injunctions under
16   the UCL.
17              ii.   Nor Was the Limitless Standing Provision of The Pre-Proposition 64
18
                      UCL the Source Its Private Attorney General Character
           A more forthright version of this argument might assert that limitless standing
19
     under the pre-Proposition 64 UCL was essential to its private attorney general character;
20
     thus, with its repeal, so too went away the private attorney general character of UCL
21
     public injunctions. To be fair, at least one court has characterized Proposition 64 as
22
     “enact[ing] at least a limited repeal of ‘private attorney general’ standing within the
23

24

25
           3
              Indeed, the phase “private attorney general” appears just once in McGill and,
26
     significantly, does so only when the court quotes the provisions of Citibank’s arbitration
     clause that operated to prohibit the plaintiff from seeking public injunctive relief under
27   the UCL. Id. at 952 (“neither you, we, nor any other person may pursue the Claim in
28   arbitration as a class action, private attorney general action or other representative
     action” (emphasis added)).

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1    UCL.” Palmer v. Stassinos, 419 F. Supp. 2d 1151, 1156 (N.D. Cal. 2005) (emphasis
2    added). But the argument that the UCL’s pre-Proposition 64 universal standing
3    provision was the source of the private attorney general character of public injunctive
4    relief fails as well.
5           First, Palmer itself cannot support such a conclusion. It described Proposition 64
6    as a “limited repeal” of private attorney general standing. Id. This suggests that some
7    private attorney general standing still exists, presumably for individuals who, like
8    Plaintiff, have suffered their own injury in fact.
9           Second, the argument that standing for uninjured strangers is an essential
10   ingredient of a private attorney general action cannot be reconciled with courts’
11   continued characterization of UCL public injunctions as private attorney general actions
12   well after Proposition 64’s amendments. Cf. McGill, 2 Cal. 5th 955 (adopting Broughton
13   and Cruz’s characterization of public injunctive relief); see also Tourgeman v. Nelson
14   & Kennard, 222 Cal. App. 4th 1447, 1464 (2014) (“[o]ur Legislature also has authorized
15   private attorney general actions with respect to the enforcement of the UCL”); Meyer v.
16   T-Mobile USA Inc., 836 F. Supp. 2d 994, 1006 (N.D. Cal. 2011) (referencing “claims
17   brought in the capacity of a private attorney general that seek a public injunction”); In
18   re DirecTV, 810 F. Supp. 2d 1060, 1073 (C.D. Cal. 2011) (same), rev’d on other grounds
19   sub nom., Lombardi v. DirecTV, Inc., 546 F. App’x 715 (9th Cir. 2013).
20          Third, such a conclusion cannot be reconciled with California courts’ consistent
21   characterization of public injunctions under the CLRA as private attorney general
22   actions. The CLRA, unlike the UCL, was unaffected by Proposition 64 and never
23   conferred standing to uninjured individuals (since the 1970’s, it has limited standing to
24   consumers who “suffer[] any damage as a result of [a violation]”). See Cal. Civ. Code
25   § 1780(a); 1988 Cal. Legis. Serv. 823. An individual who has suffered damage,
26   according to California courts, nevertheless acts as a “private attorney general in the
27   purest sense” when she seeks a public injunction under the CLRA. Cruz, 30 Cal. 4th
28




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1    303, 312; Specialty Merch. Corp. v. Navigators Ins. Co., , 2012 WL 12892158, at *8
2    (C.D. Cal. Oct. 23, 2012) (same); Mejia, 38 Cal. App. 5th at 739 (same).4
3    III.   MoneyLion’s Argument Under the “All Remedies” Cannot Rescue Its
4
            Arbitration Agreement from McGill
            MoneyLion next argues that the Arbitration Agreement does, in fact, permit an
5
     arbitrator to award public injunctive relief. According to MoneyLion, the “all remedies”
6
     clause in Section 9 of the Agreement supplies this authorization when it provides: “[t]he
7
     arbitrator shall . . . be authorized to award all remedies available in an individual lawsuit
8
     under applicable substantive law, including, without limitation . . . injunctive and other
9
     equitable relief.” Agreement, § 9. The agreement authorizes “all remedies available in
10
     an individual lawsuit”; a public injunction is a remedy available in an individual lawsuit;
11
     and so, MoneyLion’s argument goes, the arbitration clause does not prohibit public
12
     injunctive relief.
13
            This too is wrong. The fact that individuals have standing to seek a public
14
     injunction does not transform public injunctive relief into an individual remedy. And it
15
     especially does not mean that a proceeding involving a public injunction claim could
16
     reasonably be characterized as an “individual lawsuit,” especially when that term must
17
     be construed in the context of an arbitration agreement that, at every turn, endeavors to
18
     limit the scope of available relief to that which is necessary to resolve the dispute
19
     between the parties.
20
        A. MoneyLion’s Argument Confuses Individual Standing and Individual Relief
21
            MoneyLion’s argument relies on the following passage from McGill:
22

23
            We conclude that these provisions do not preclude a private individual who
            has ‘suffered injury in fact and has lost money or property as a result of’ a
24          violation of the UCL or the false advertising law . . . from requesting public
25

26
            4
             Such a narrow definition would compel the bizarre conclusion that claims under
27   California’s Private Attorneys General Act (“PAGA”) are not “private attorney general
28   actions” either because PAGA standing is confined to “aggrieved employees.” See Cal.
     Lab. Code § 2699(c).

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1
           injunctive relief in connection with that action. A person who meets these
           requirements is ‘filing’ the ‘lawsuit’ or ‘action’ on his or her own behalf,
2          not ‘on behalf of the general public.’
3    2 Cal. 5th at 959 (internal quotations omitted). But MoneyLion infers too much from
4    this passage. Here, the California Supreme Court is merely explaining why a plaintiff
5    “who has suffered injury in fact” does not need to act in a representative capacity “on
6    behalf of the general public” to seek public injunctive relief under the UCL. Id. The
7    discussion is about UCL standing for injured individuals, not about the individual nature
8    of a claim for public injunctive relief: a UCL plaintiff’s own injury in fact gives her
9    standing to sue on her own behalf for her individual injury, and she may seek public
10   injunctive relief “in connection with that action.” Id.
11         McGill’s description of a public injunction as a claim a plaintiff may pursue “in
12   connection” with her individual claims is instructive. “[T]o connect” means “to
13   become joined.” See “connect,” Merriam-Webster Online Dictionary, 2019.
14   http://www.merriam-webster.com (Nov. 14. 2010).            Although the UCL’s standing
15   requirements for seeking public and private relief are the same, it is doubtful that such a
16   proceeding can be characterized as an “individual lawsuit” once an injured individual
17   joins a claim for relief oriented to the general public with it.
18      B. MoneyLion’s “All Remedies” Argument Separately Fails as a Matter of
19         Contract Construction
20
           This argument also fails because the meaning of the term “individual lawsuit” in
21   Section 9 must be construed in its appropriate context. Here, that context is an
22
     Arbitration Agreement that plainly seeks to limit the scope of available relief to that
23   which is only necessary to resolve the individual dispute between the parties. Indeed,
24
     construing the arbitration clause to authorize public injunctive relief based on the “all
25
     remedies” clause would require the Court to simply ignore Sections 5(D) and 5(E).
26   Doing so would violate a principal rule of contract interpretation. See, e.g., Burdon Cent.
27
     Sugar Refining Co. v. Payne, 167 U.S. 127, 142 (1897) (“the contract must be so
28   construed as to give meaning to all its provisions, and that interpretation would be


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1    incorrect which would obliterate one portion of the contract in order to enforce another
2    part thereof”); Cf. Speedy Cash, 2019 WL 2423090, at *7 n.1 (reading an identical “all
3    remedies” clause to confirm the unavailability of public injunctive relief based on its
4    limitation to “individual lawsuit[s]”).
5          The case law supports this point. Courts reviewing arbitration clauses that either
6    prohibit acting as a private attorney general or prohibit claims or relief involving
7    nonparties (or both) generally find that such clauses bar public injunctive relief.
8    Contrary to MoneyLion’s argument, this is true notwithstanding the existence of
9    separate clauses in the arbitration agreement generally purporting to authorize the
10   arbitrator to award all remedies available under applicable law.
11         One such example, Speedy Cash, is discussed above. See 2019 WL 2423090, at
12   *7 n.1.
13         McGill is another example. In McGill, Citibank’s arbitration clause authorized
14   the arbitrator to award “any damages and other relief provided for under applicable law.”
15   See Citibank’s Arb. Clause (Exhibit E (Ex. 3), Tang Decl.) at 1. But it also prohibited
16   the plaintiff from pursuing claims “as a . . . private attorney general” and the arbitrator
17   from “award[ing] relief for or against anyone who is not a party.” 2 Cal. 5th at 952. The
18   parties agreed that these clauses “preclude[d] . . . public injunctive relief in any forum”—
19   Citibank did not even bother to argue otherwise. See id. at 956.
20         Similarly, the arbitration agreement in Blair v. Rent-A-Center, Inc.—the Ninth
21   Circuit’s recent decision affirming the validity of the McGill rule against FAA
22   preemption—prohibited “the arbitrator from awarding ‘relief that would affect RAC
23   account holders other than you,’ and eliminate[d] any ‘right or authority for any dispute
24   to be brought, heard, or arbitrated as a . . . private attorney general [action].’” 928 F.3d
25   819, 831 (9th Cir. 2019). Rent-A-Center’s arbitration clause also contained an “all
26   remedies clause,” permitting “the Arbitrator [to] award any party any remedy . . . under
27   applicable law (including without limitation, legal, equitable and injunctive relief).” See
28   Rent-A-Center Arb. Clause (Exhibit F, Tang Decl.), § F, ¶ 4. The Ninth Circuit


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1    nevertheless concluded that the arbitration clause “waive[d] [the plaintiff’s] right to seek
2    a public injunction ‘in any forum.”’ 928 F.3d at 831. The presence of an “all remedies”
3    clause did not rescue the arbitration clause from McGill.
4          Other examples abound. See, e.g., Dornaus v. Best Buy Co., No. 18-CV-04085-
5    PJH, 2019 WL 632957, at *2 (N.D. Cal. Feb. 14, 2019) (McGill applied notwithstanding
6    clause permitting “all remedies [on an individual basis]” where the arbitration clause
7    barred “remedies sought as part of a class action, private attorney general or other
8    representative action”); Lotsoff v. Wells Fargo Bank, N.A., No. 18-CV-02033-AJB-JLB,
9    2019 WL 4747667, at *2 (S.D. Cal. Sept. 30, 2019) (same).
10         By contrast, in the three cases MoneyLion cites to support the argument that
11   similar “all remedies” clauses comply with McGill—Rivera, Magana, and Lee—none
12   of the arbitration clauses at issue prohibited the plaintiff from “act[ing] as a private
13   attorney general” or joining “claims involving others,” like MoneyLion’s does here.
14         In Rivera v. Uniqlo California LLC, Judge Kronstadt of this district concluded
15   that Uniqlo’s arbitration clause did not run afoul of McGill because Paragraph 10 of
16   Uniqlo’s arbitration clause “permit[s] the arbitrator to ‘award any remedy to which a
17   party is entitled under applicable law.’” See No. 17-cv-02848-JAK-JPRX, 2017 WL
18   6539016, at *15 (C.D. Cal. Sept. 8, 2017) (citing Uniqlo’s Arbitration Clause, ECF Doc.
19   12-2 (Exhibit G to Tang Decl.) at 7, ¶ 10). But Uniqlo’s agreement only prohibited
20   “class and collective actions.” See Ex. G at 6, ¶ 6. Unlike MoneyLion’s Agreement, it
21   did not also prohibit “act[ing] as a private attorney general” or bringing “claims
22   involving others.” Compare Agreement, § 5(D)-(E).
23         Similarly, the arbitration agreement in Magana v. DoorDash, Inc. provided that
24   “the Arbitrator may award all remedies to which a party is entitled under applicable law
25   and which would otherwise be available in a court of law.” 343 F. Supp. 3d 891, 901
26   (N.D. Cal. 2018). But DoorDash’s arbitration clause only barred the plaintiff from
27   bringing “a class action, collective action and/or representative action”—not bringing
28   claims involving others or acting as a private attorney general. Id. at 895-96.


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1          The same is true of Lee v. Postmates Inc., No. 18-CV-03421-JCS, 2018 WL
2    4961802 (N.D. Cal. Oct. 15, 2018) (subsequent history omitted). The arbitrator could
3    “award all remedies . . . available in a court of law.” Id. at *9. But the agreement only
4    prohibited “class and/or collective action[s]” or “representative action[s],” id. at *1, not
5    “act[ing] as a private attorney general” or bringing “claims involving others.”
6    IV.   Plaintiff Has Adequately Pleaded Claims for Public Injunctive Relief
7          Last, MoneyLion asserts that Plaintiff is not really seeking a public injunction, but
8    rather, a private one, and so McGill does not apply. According to MoneyLion, the relief
9    Plaintiff seeks is not truly public injunctive relief because the “primary focus” of
10   Plaintiff’s FAC is money damages, and her requests for public injunctive relief are just
11   “vague and generalized.” The Court should reject these arguments as well.
12      A. MoneyLion’s Contrived “Primary Purpose” Test for Public Injunction
13
           Pleadings Is Contrary to California Law and Federal Pleading Rules
           MoneyLion argues that the Court should characterize Plaintiff’s requested relief
14
     as a private because “the primary focus of Plaintiff’s FAC is . . . monetary damages,
15
     which are sought on behalf of Plaintiff and a putative class of California residents.” Doc.
16
     18, at 16. The implication here is that claims for private relief cannot coexist in the same
17
     pleading alongside claims for public injunctive relief without dissipating the public
18
     character of the latter. This argument is inconsistent with California law and federal
19
     pleading rules.
20
           It is no secret that, on some of her claims in the FAC, Plaintiff seeks relief that is
21
     largely private in nature.     But three other claims—specifically Count II (public
22
     injunctions under the UCL), Count III (public injunctions under the CLRA), and Count
23
     VII (public injunctions under the FAL)—seek relief oriented to the public at large only.
24
           Nothing in McGill or the cases applying it suggests that a claim for public
25
     injunctive relief is viable only if it is contained in a pleading “primarily focus[ed]” on
26
     public relief. To the contrary, McGill recognizes that, by virtue of the UCL’s injury in
27
     fact requirement, public injunction claims are necessarily pursued “in connection with”
28




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1    claims seeking redress for private injury. See 2 Cal. 5th at 959. Notably, in McGill, the
2    plaintiff also sought “compensatory, monetary and punitive damages, and . . . restitution
3    and/or disgorgement”—remedies which “do not constitute public injunctive relief.” Id.
4    at 957 n.1. But the inclusion of claims for private relief did not affect the viability of
5    the claims for public injunctive relief. Id. This is likely because McGill’s test for public
6    injunctive relief depends on the public versus private effects of the discrete remedy—
7    not the “primary focus” of the complaint or lawsuit as a whole.
8          MoneyLion’s proposed “primary focus” standard would also contravene federal
9    pleading principals. Generally, “the plaintiff is the master of [her] complaint.” Weiss v.
10   Kuck Trucking, Inc., 166 F. App’x 931, 932 (9th Cir. 2006). Very limited circumstances,
11   none that are present here, justify recharacterizing a plaintiff’s claims. See id. Further,
12   under Rule 18(a), “[a] party asserting a claim . . . may join, as independent or alternative
13   claims, as many claims as it has against an opposing party.” MoneyLion’s argument is
14   no more persuasive than one asserting that the presence of a contract claim in a complaint
15   invalidates the tort character of a separately pleaded negligence count. In short, claims
16   for public injunctive relief, like any other claims, can exist independently, even
17   inconsistently, with other claims. Plaintiff’s claims should be evaluated no differently.
18      B. Plaintiff’s FAC States Valid Claims for Public Injunctive Relief Under
19
           Twombley and McGill
           The Court should therefore consider MoneyLion’s argument, if at all, under
20
     Twombly’s standard for Rule 12(b)(6) motions. That standard, as applied here, requires
21
     Plaintiff to plead “only enough facts to state a claim [for public injunctive] relief that is
22
     plausible on its face.” Cf. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 547 (2007).
23
     Contrary to MoneyLion’s characterization of the public injunction claims as “vague and
24
     generalized,” Plaintiff has more than satisfied her pleading burden here.
25
        1. The FAC Seeks Public Injunctive Relief in Name and Substance
26
           The relief requested under Counts II, IV, and VII satisfies the California Supreme
27
     Court’s formulation of public injunctive relief. Each of these claims seeks injunctive
28




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1    relief that “has the primary purpose and effect of prohibiting unlawful acts that threaten
2    future injury to the general public.” See McGill, 2 Cal. 5th at 951.
3          First, The relief Plaintiff requests under the public injunction counts primarily
4    seeks to “prohibit[] unlawful acts.” The FAC generally describes a debt-trap scheme
5    that relies on deceptive representations to the general public to entice consumers to
6    connect their bank accounts and enroll in MoneyLion Plus. FAC at ¶¶ 59-78. These
7    representations are disseminated to the general public through various media, including
8    internet and social media advertising, sweepstakes promotions, targeted emails, referral
9    incentives, and sponsorship of a NASCAR racing team. Id. at ¶ 191.
10         Second, the unlawful acts Plaintiff seeks to enjoin are of the kind “that threaten
11   future injury,” since they increase the likelihood that members of the public will link
12   their bank accounts, enroll in MoneyLion Plus, and expose themselves to harm from
13   MoneyLion’s scheme. FAC at ¶¶ 59-78.
14         And, third, the harm Plaintiff seeks to enjoin primarily threatens “the general
15   public,” not Plaintiff individually. Plaintiff has already been injured by MoneyLion’s
16   practices and is therefore largely aware of them. For this reason, claims arising from
17   misrepresentations made in advertising to the general public are typically, if not
18   categorically, appropriate for public injunctive relief. Specialty Merch. Corp., 2012 WL
19   12892158, at *8 (“[o]verwhelmingly, public injunctions are found in cases involving
20   deceptive advertising” (collecting cases)); Eiess v. USAA Fed. Sav. Bank, 2019 WL
21   3997463, at *12 (N.D. Cal. Aug. 23, 2019). Plaintiff’s requested relief “falls squarely
22   within the ambit of public injunctive relief.” Speedy Cash, 2019 WL 2423090, at *7.
23      2. Johnson, Sponheim, and McGovern are Distinguishable Because They Did Not
24
           Involve Misrepresentations to the Public
           The cases MoneyLion cites in support of its argument to the contrary are
25
     distinguishable because none concerned public misrepresentations. Instead, each
26
     involved alleged breaches of an account agreement. The plaintiffs there unsuccessfully
27
     argued that the breached provisions of the account agreements constituted
28




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1    “misrepresentations” about the defendant’s practices. Critically, all three cases suggest
2    that their outcomes would have changed had the requested injunctive relief targeted false
3    advertising. See Johnson v. JP Morgan Chase Bank, N.A., No. EDCV172477JGB, 2018
4    WL 4726042, at *7 (C.D. Cal. Sept. 18, 2018) (noting that “the [complaint] does not
5    allege any facts about the public availability of the Deposit Account Agreement, [or]
6    that the public availability of the document constitutes false advertising”); Sponheim v.
7    Citibank, N.A., No. SACV19264JVSADSX, 2019 WL 2498938, at *5 (C.D. Cal. June
8    10, 2019) (“[plaintiff] cannot transform . . . contractual agreement between Citibank
9    and its account holders into marketing and advertising materials”); McGovern v. U.S.
10   Bank N.A., 362 F. Supp. 3d 850, 858 (S.D. Cal. 2019) (“Plaintiff attempts to avoid this
11   result by characterizing her account agreement . . . as ‘marketing materials’ . . .”).
12         Here, Plaintiff need not rely on such a leap to locate an actionable public
13   misrepresentation.    While Plaintiff does allege that MoneyLion has violated its
14   agreements with customers, she also alleges that MoneyLion communicates various
15   misrepresentations in ways that unquestionably qualify as advertising to the general
16   public. See FAC, ¶ 191 (describing sweepstakes promotions, internet and social media
17   advertising, email marketing, event sponsorships, and the like). Thus, neither Johnson,
18   McGovern, nor Sponheim allow MoneyLion to escape McGill.
19
                                           *      *      *
20
                                          CONCLUSION
21
           MoneyLion does not dispute that, if triggered by the invalidation of any qualifying
22
     provision, the Poison Pill clause would operate to invalidate the entirety of the
23
     Arbitration Agreement in this lawsuit. As explained above, at least one of Section 5(D)
24
     or 5(E)—two of the clauses linked to the Poison Pill—prohibits Plaintiff from seeking
25
     public injunctive relief in any forum and, thus, is invalid under McGill. MoneyLion’s
26
     entire Arbitration Agreement is therefore “null and void in [this] proceeding.” The
27
     Court should deny MoneyLion’s Motion to Compel Arbitration accordingly.
28




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2         Dated: December 2, 2019.             Respectfully Submitted,
3
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